
32 Cal.App.2d 609 (1939)
THE PEOPLE, Respondent,
v.
JOHN K. DUMAS, Appellant.
Crim. No. 383. 
California Court of Appeals. Fourth Appellate District.  
May 10, 1939.
 Willis O. Tyler for Appellant.
 Earl Warren, Attorney- General, and Burdette J. Daniels, Deputy Attorney-General, for Respondent.
 Barnard, P. J.
 The clerk's transcript herein was filed on March 8, 1939, and the reporter's transcript on April 10, 1939. [1] No appearance has been made and no brief filed by or on behalf of the appellant, and no extension of time for the filing of such a brief has been requested or granted. The cause was regularly calendared for May 9, 1939, at which time the attorney-general moved for an affirmance of the judgment under the provisions of section 1253 of the Penal Code. The motion is granted.
 The judgment is affirmed.
 Marks, J., and Griffin, J., concurred.
